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                            EXHIBIT 40




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                                                                 SFUND RECORDS CTR
                                                                     1654-05670




McColl Superfund Site
Fullerton, California
Revised Community
Relations Plan




                                                                    1992


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                          UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                    REGION IX              ;   .

                                           75 Hawthorne Street                             AR2G03
                                       San Francisco, Ca. 94105-3901




      May 13, 1992


      Ms. Joanne Hardy
      Archivist
      Fullerton Public Library
      353 W. Commonwealth Ave.
      Fullerton, CA 92632


      Dear Ms. Hardy:

      Please add these four documents from the U.S. Environmental Protection Agency to the McColl
      Superfund information collection in your library:

      1.     The Revised McColl Community Relations Plan identifies community concerns related
             to the Superfund site and details the community relations activities that EPA has
             developed as a result of these concerns.

      2. _   The Public Information Book contains historical fact sheets and other public information
             on McColl published by the U.S. and California Environmental Protection Agencies.

      3.     The McColl Supplemental Revaluation of Alternatives 11, April 1992.

      4.     McColl Treatability Study: Results and Conclusions, Revision 5, April 21, 1992.

      You may call me at (415) 744-2181 if you have any questions.

      Thanks for your help.

      Sir




      Fraser Felter
      Community Relations Coordinator

                                                                                        Printed on Recycled Paper



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                    EPA CONTRACT NUMBER: 68-W9-0059
                   WORK ASSIGNMENT NUMBER: 59-14-9L04




            THE REVISED McCOLL
         COMMUNITY RELATIONS PLAN



                           McCOLL SUPERFUND SITE
                               FULLERTON, CA




                                    May 1992




                                  Submitted to
                                 EPA Region IX


                     Prepared by ICF Technology, Incorporated




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 160 Spear Street, Suite 1380
 San Francisco, California
 94105-1535
 415/957-0110


 ICF TECHNOLOGY INCORPORATED




 May 11, 1992


 Fraser Felter
 Community Relations Coordinator
 U.S. Environmental Protection Agency
 Region IX
 75 Hawthorne Street
 San Francisco, CA 94105


 Subject: Revised Community Relations Plan for the McColl Site, Fullerton California


 Dear Fraser:

 This final Revised Community Relations Plan has been prepared for EPA under Work
 Assignment No. 59-14-9LO4, issued under the ARCSWEST Contract No. 68-W9-0059. Should
 you have any questions or need additional information regarding this document, please call me at
 (415) 882-3016 or D'Arcy Richardson at (415) 882-3018.

 Sincerely,




 Earle Krivanec
 Program Manager


 cc:     Pam Weiman, EPA Region DC
         Steve Linder, EPA Region IX.
         John Blevins, EPA Region DC
         Jen Simmons, EPA Region DC
         Judy Walker, EPA Region DC
         BUI Draper, DTSC
         Adam Ng, ICF Technology




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  INTRODUCTION


  The United States Environmental Protection Agency (EPA) and the Department of Toxic
  Substances Control* (DTSC) of the California Environmental Protection Agency are overseeing
  an investigation and cleanup of the McColl Superfund Site, a former petroleum waste disposal
  facility which is located in Fullerton, Orange County, California. (See Figure 1)


  The State originally headed the investigation and cleanup operation. It produced a Community
  Relations Plan for McColl in December 1987 that described the concerns of the community at
  that tune and the activities it proposed to involve community members in the decision-making
  process. EPA assumed the role as lead agency for the cleanup in 1989 and supervises the
  community relations activities for the site.


  Since that time, many significant changes have been made in the technical plans for the site which
  have affected the community relations needs at McColl. EPA has revised the original community
  relations plan to reflect the changing needs of the community.


  This Revised Community Relations Plan gives an overview of the situation at the McColl site,
  describes community concerns and opinions about the site, and presents a community relations
  program that will meet the needs of the community with regard to participation in the Superfund
  process. This document is divided into the following sections: Introduction; Site History;
  Community Background; Results of Community Interviews; The Community Relations Program;
  and Appendices.




  *On July 17, 1991, the Toxic Substances Control Program (TSCP), which was the initial State agency to work on the
  project, was transferred from the Department of Health Services (DHS) to the newly formed California Environmental
  Protection Agency (Cal-EPA) and TSCP was accorded Departmental status. The new name for TSCP is the
  Department of Toxic Substances Control (DTSC). In order to avoid confusion, this document will use "State of
  California" or "State" when referring to these State agencies.




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                         LA MIRADA
                             Rosecrans




                                              GARDEN GROVE



         FIGURE 1. McColl Area Map




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 Objectives of the Community Relations Plan


 This Revised Community Relations Plan (CRP) is based on a review of McColl documents,
 ongoing contact between the agencies and the community, and information gathered during
 personal and telephone interviews conducted in September, 1991 with residents; businesspeople;
 federal, state and local elected officials; agency representatives; and a representative of the
 McColl Site Group, the five oil companies identified as potentially responsible for the McColl
 waste and its remediation (Shell Oil Company, Atlantic Richfield Company, Phillips Petroleum
  Company, Union Oil Company, and Texaco Marketing and Refining, Inc.). The Revised CRP
 has taken into account the concerns and needs of the community that were expressed in these
 interviews, and has modified the activities that were outlined in the original CRP. EPA has
 formulated these activities 1) to ensure continued two-way communication between the affected
 and interested community and the agencies and 2) to keep the community informed of technical
 progress at the site.


 The Fullerton community has been very actively involved in the McColl site throughout the
 investigation stage of the Superfund process. The Agency would like to express its appreciation
 for the many long hours community members have contributed to the cleanup effort. EPA's goal
 is to continue to allow for further public involvement during all stages of the operation, through
 formal meetings and comment periods and informal meetings with community members.


 The EPA will continue to work with community members over the entire Ufe of the project, and
 will reach out to recently arrived community members who may have less knowledge of the site.
 The community relations program will focus on providing the specific technical information that
 many long-time residents have asked the agencies to provide, as well as providing more general
 information about the site for newcomers to the community.




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    Summary of Important Issues


    The major issues of concern to the community that were expressed during community interviews
    include the following:


           •       Length of time and schedule for remediation of the site;


           •       Cost and subsequent availability of funding for the cleanup;


           •       Loss of confidence in the agencies administering the project;


           •       Community health as it relates to the site and the cleanup alternatives being
                   considered;


           •       Potential groundwater contamination and implications for future use of area
                   groundwater;


           •       Relationship between the agencies and the potentially responsible parties;


           •       Feasibility of the current cleanup alternatives;


           •       Effects of the site and cleanup alternatives on property values and the salability of
                   homes; and


           •       Site maintenance including mowing, drum storage, and fencing.


    In general, community members expressed satisfaction with the community relations program for
    McColl and had detailed knowledge of the site's history. At the same tune, community members
    expressed frustration with technical delays in the project that resulted in the 1991 postponement
    of the Record of Decision (ROD), which will describe the selected remedial alternative for the
    site once it has been selected. Community interviews highlighted the need for more direct
    explanations to the community about the need for a technical delay at this point in the project.




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  Designated EPA and State Contacts for McColl Superfund Site


  In order to provide the community with access to information about McColl, EPA and the State
  have designated the following individuals as community contacts:


  Fraser Felter
  Community Relations Coordinator
  EPA, Region DC
  75 Hawthorne St. (H-l-1)
  San Francisco, CA 94105
  (415) 744-2181 or (800) 231-3075


  Pam Wieman
  Remedial Project Manager
  EPA, Region TX
  75 Hawthorne St. (H-6-1)
  San Francisco, CA 94105
  (415) 744-2242


  William Draper or Caroline Rudolph
  Department of Toxic Substances Control
  P.O. Box 806
  Sacramento, CA 95812-0806
  (916) 445-9543 (Mr. Draper)      (916) 324-2857 (Ms. Rudolph)


  SITE HISTORY


  The McColl site was named for Eli McColl, the operator of the disposal site during the period
  1942-1946. The site occupies approximately 22 acres in the northwest corner of the City of
  Fullerton, Orange County, California. It is surrounded by a regional park and golf course to the
  west and south, oil fields and residential areas to the north, and residential areas to the east and
  southeast.




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   Sumps on the site covering approximately eight acres of land were used for disposal of acidic
   petroleum refinery sludge, a waste product resulting from the production of high-octane aviation
   fuel during World War n. At the time of its operation, the site was bordered by oil wells to the
   north, a hog farm to the south, and agricultural land to the southwest. There were no residential
   developments near the site. In 1946, the City of Fullerton denied a permit renewal for the
   facility, and it stopped accepting wastes.


   The site has two geographical areas, the Ramparts parcel (named after Ramparts Research, Inc.)
   and the Los Coyotes parcel (formerly part of the Los Coyotes Golf Course and owned by
   McAuley Oil). Each area contains six sumps where petroleum waste products were deposited.
   (See Figure 2) In 1951, Mr. McColl informed the City of Fullerton and the Regional Water
   Quality Control Board of his plan to cover three of the Ramparts sumps with drilling muds in
   order to stabilize the previously deposited waste. Three Ramparts sumps (R-l through R-3) were
   eventually covered with drilling muds. There were frequent delays in covering the sumps and they
   were not completely covered until 1964.


   The Los Coyotes sumps were covered during the development of Los Coyotes Golf Course in the
   late 1950's. In 1968, extensive housing development was started east of Gilbert Street, with
   another small subdivision being developed west of Gilbert. By the late 1970's, housing had been
   built up to the eastern and southeastern borders of the McColl site and development of the north
   area was underway. Contamination at McColl was discovered after odor complaints were received
   from residents who moved into these new homes in the late 1970's.


   Description of the Contamination


   The waste at McColl is a by-product of petroleum processing operations. The waste comes in two
   different forms: char, which is a coal-like asphaltic material; and tar, which is a black viscous
   material. In addition to the petroleum wastes themselves, drilling muds that were used to cover
   some of the sumps and underlying soils have become contaminated through contact with the
   waste.




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                                                                                            LOS COYOTES
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               FIGURE 2. McColl Site Map




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   The char and tar are very acidic, with some pH measurements less than 1.0. Major contaminants
   that have been identified in the waste or in air emissions from the waste include sulfur dioxide
   (SO^; volatile organic compounds including benzene, toluene, acetone, and thiophenes; and
   inorganics and metals including arsenic and chromium.


   Agency and Technical Activity to Date


   The Orange County Department of Environmental Health and the South Coast Air Quality
   Management District began investigations at the McColl site after receiving odor complaints from
   nearby residents as early as July 1978. Other local, state, and federal authorities were informed of
   the problem at the site and initiated additional investigations.


   From 1980 to 1983, the State coordinated a Remedial Investigation/Feasibility Study (RI/FS) of
   the site to choose a cleanup method for the site. In late 1981, a Memorandum of Agreement was
   signed by the State, EPA, South Coast Air Quality Management District, the Regional Water
   Quality Control Board, Orange County Department of Environmental Health, the City of
   Fullerton, and Shell Oil Company, Atlantic Richfield Company, Phillips Petroleum Company,
   Union Oil Company, and Texaco Marketing and Refining, Inc. This Agreement called for the
   formation of a Participants' Committee made up of the signing parties, and outlined each of their
   roles in the planned site investigation.


   Later, in 1986, EPA and the State replaced the Participants' Committee with an Interagency
   Committee (IAC) to facilitate communication among the agencies responsible for the project.
   EPA, the State, the City of Fullerton, the City of Buena Park, the office of Congressman William
   Dannemeyer, Orange County Environmental Health Department, South Coast Air Quality
   Management District, the California Attorney General's Office, and the Regional Water Quality
   Control Board make up the IAC. The IAC meets as necessary to review technical data, discuss
   site progress, share information, and coordinate decisions.


   During the Remedial Investigation (RI), information was collected to define the sources, nature,
   and extent of the contamination at McColl, and to examine potential health effects. The
   Feasibility Study evaluated cleanup alternatives based on the RI data. In early 1983, EPA issued

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  a ROD (ROD) that selected excavation and redisposal of the waste as the cleanup alternative. A
  test excavation was performed in May 1983 to evaluate the practicality of excavating the waste
  material. Following this test, the sumps in the Ramparts area where waste had been deposited
  were covered with a soil cap to further reduce emissions from the site.


  Through a competitive bidding process, Casmalia Resources, a hazardous waste disposal facility in
  Santa Barbara County, was chosen for the disposal of the McColl waste. However, due to EPA's
  desire to dispose of the waste in a facility that was equipped with a double liner, the cost of
  disposal at Casmalia became prohibitive and EPA decided to evaluate other disposal facilities.
  The State and EPA evaluated these other disposal sites, and competitively selected Petroleum
  Waste Incorporated, located in Kern County. Three days before the excavation and redisposal
  operation was to begin in May 1985, a Kern County Superior Court Judge ruled in favor of Kern
  County and against the State, determining that the excavation and redisposal for McColl was not
  exempt from the requirements of the California Environmental Quality Act. The judge ruled that
  the State must prepare an Environmental Impact Report (EJJR.) for McColl before any remedial
  action could be implemented. All cleanup work at the McColl site was halted, and the State
  began preparing the EIR.


  Since that time, new federal regulations governing the disposal of hazardous waste have made the
  excavation and redisposal of waste without treatment the least preferred alternative for Superfund
  cleanups. As a result, EPA decided to review the alternatives again and perform additional
  technical evaluations. EPA began its Supplemental Reevaluation of Alternatives (SROA) to
  update cost estimates and to evaluate the existing technologies and new ones that were not
  available during the original Feasibility Study.


  The Supplemental Reevaluation of Alternatives (SROA) assessed four clean-up options for
  McColl: 1) excavation and redisposal; 2) RCRA equivalent closure; 3) RCRA equivalent
  containment; and 4) thermal destruction. The SROA evaluated the technical feasibility, cost, and
  public health and environmental protectiveness of the clean-up alternatives.


  In March 1989, EPA and the State proposed that thermal destruction was the preferred remedial
  alternative for the McColl site. Concurrent with an extended public comment period, EPA




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   conducted treatability studies for thermal destruction on the McColl waste using Ogden
   Environmental Services' research facility in San Diego. Results indicated that the waste could be
   successfully treated using a circulating bed combustor, and plans were made for Ogden to conduct
   a trial burn on the McColl site in early 1990, as part of the Superfund Innovative Technology
   Evaluation (SITE) program. However, Ogden withdrew from the SITE program in late 1989,
   citing financial concerns, and the trial burn was never conducted.


   EPA made plans to sign the ROD (ROD) selecting thermal destruction in March 1991. A trial
   excavation of waste was planned and conducted in June 1990 on waste at Sump L-4 to gather
   data about waste excavation, emissions levels, and waste processing. EPA also began evaluating
   different types of thermal destruction for use at McColl.


   After reviewing new information obtained during the trial excavation, EPA determined that it was
   necessary to provide the community with an additional opportunity to comment on all of the
   information that had a bearing on the ROD, consistent with the intent of the newly revised
   National Contingency Plan.


   EPA is now in the process of preparing the Supplemental Reevaluation of Alternatives U. The
   Agency expects that the ROD for McColl will be signed in December 1993. A list of community
   relations activities for the technical and regulatory process is presented in Figure 3 on page 32.


   Throughout the project at McColl, EPA and the State have performed sampling and monitoring
   of air, soil, and groundwater. To date, boreholes have been drilled to test the soil, and
   groundwater monitoring wells have been installed on or near the McColl site to monitor
   movement of contaminants in the groundwater. EPA samples groundwater monitoring wells
   quarterly.


   The following is a chronological listing of major activities at the McColl site.


   1980    • The State begins coordination of the RI/FS.




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  1981   • Memorandum of Agreement is signed by the State, EPA, South Coast Air Quality
             Management District, Regional Water Quality Control Board, Orange County
             Department of Environmental Health, the City of Fullerton, and Potentially
             Responsible Parties. A Participants' Committee is formed.


  1983   • ROD is issued by EPA


         •   Test excavation is performed to evaluate practicality of excavating the waste material.


         •   Following excavation test, waste sumps are covered with soil caps.


  1984   •   Casmalia Resources is chosen through a competitive bidding process as the site for
             McColl waste disposal.


         •   Due to EPA's preference that McColl waste should be disposed of in double-lined
             facilities, the cost of disposal at Casmalia increases and other facilities are evaluated.


  1985   • Petroleum Waste Incorporated in Kern County is selected as new disposal site.


         •   Kern County Superior Court rules an that an EIR must be prepared prior to initiation
             of any remedial action and cleanup action is halted.


  1986   • Interagency Committee is organized by the EPA and the State.


         •   EPA begins Supplemental Reevaluation of Alternatives.


         •   SROA evaluates on-site incineration, RCRA containment, RCRA closure, and
             excavation and redisposal as the four alternatives.


  1989   •   EPA assumes lead oversight responsibility for the McColl site.




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            •   EPA and the State announce thermal destruction as the preferred remedial
                alternative.


            •   Public comment period is extended by two weeks.


            •   EPA conducts treatability studies for thermal destruction using
                Ogden Environmental Systems.


            •   Plans made for Ogden to conduct trial burn as part of SITE.


            •   Ogden withdraws from SITE program and trial burn never conducted.


   1990     • Trial excavation of waste is conducted in June at Sump L-4.


   1991     • EPA prepares the Supplemental Reevaluation of Alternatives U.


            •   EPA to sign ROD by December 1993.


   In addition to these activities, EPA and DTSC have performed sampling and monitoring of
   groundwater on a regular basis throughout the McColl project.


   COMMUNITY BACKGROUND


   The McColl Superfund site is situated in the northwest corner of the City of Fullerton. Fullerton
   is the fifth largest city in Orange County, California with a population of approximately 114,000.
   The average annual household income is $ 48,750. City of Fullerton officials estimate that 30-
   50% of the population near the McColl Superfund Site is of Korean descent as compared to 10%
   for Orange County as a whole. According to 1990 census information, there are approximately
    100,000 residents living within a 2.4-mile radius of the site.




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  Community Profile


  The City's history dates back to 1887 when George H. Fullerton, president of a Santa Fe Railroad
  subsidiary, was sent west to purchase land for a new railroad line to be constructed in the area.
  Upon learning about the new railroad plans, two enterprising brothers, George and Edward
  Amerige, purchased 430 acres of land and offered the Railroad free right-of-way and half interest
  in the land if the proposed townsite was included in the survey. An agreement was signed on July
  5,1887, resulting in the development of the Fullerton area. In February 1904, Fullerton was
  incorporated as a city.


  Historically, agriculture was the community's leading industry, with more orange groves than any
  other Orange County city during its peak years. The soaring popularity of the Valencia oranges
  grown in the area strongly contributed to the enormous economic growth during the late 1890's.
  Today, however, less than 50 acres of groves remain in Fullerton.


  In the late 1890's, oil became another important resource for Fullerton. The oil industry
  continued to grow through the 1920's and, today, much of the land is still being worked by major
  oil companies.


  Additional industrial growth began in 1932 with the opening of Val Vita Food Products in the
  west end of the city. From a small citrus juice manufacturing plant, Val Vita grew into the largest
  canning company in the nation by 1941. In 1943, it merged with another firm to become Hunt-
  Wesson Foods Company, which has since been acquired by Beatrice Foods.


  After the establishment of a manufacturing zone in the southeast region of Fullerton, additional
  industries began to appear. By the late 1950's, Fullerton had 142 industries producing a wide
  variety of products and employing about 18,500 people. Today more than 6,000 business and
  industries employ a work force in excess of 71,000. Major manufacturing employers include
  Hughes Aircraft, Beckman Industries, Kaynar Manufacturing, Kimberly-Clark, and Weber
  Aircraft.




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    By the 1970's, Fullerton's rapid growth of the post-war period had slowed considerably. The
    City's focus shifted to providing amenities such as new libraries, cultural centers, parks, and
    general municipal services for all of its new residents and businesses. Revitalization of the older
    business areas was begun. Additionally, Fullerton College, established in 1913, was joined during
    this period by four new higher education facilities: California State University (formerly Orange
    County State College), Western State University of Law, Southern California College of
    Optometry, and Pacific Christian College.


    City officials say that future City goals will continue to emphasize new development, as well as
    refinement of existing services.


    History of Community Involvement


    Community members have been involved with the McColl site since the beginning of the
    investigation process. Agencies initiated investigations at the site as a result of odor and health
    complaints received from residents beginning in July 1978. Community concern increased
    gradually through 1980. At that time, media attention was focused on the site as a result of the
    involvement of the Campaign for Economic Democracy (CED), a statewide consumer and
    environmental organization, and an address given to residents by Lois Gibbs, president of the
    Love Canal Homeowners Association. Concern increased dramatically as a result of the media
    attention and the organizing efforts of CED.


    Due to the increasing community concerns, the State organized a public hearing in the fall of
    1980. Peter Weiner, Governor Brown's special assistant on Toxic Substances Control, chaired the
    hearing. A panel of state agency representatives also participated. Jane Fonda, of CED, spoke
    to the community residents and the media following the hearing.


    Individual members of the community continued to be involved in discussions and decisions
    related to the site through 1984, when EPA and the State announced that the site would be
    remediated using the excavation and redisposal alternative. Community comments received at the
    first public hearing indicated strong community support for this decision. Following the Kern
    County court injunction that prevented disposal of McColl waste to the PWI landfill without

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  preparation of an EIR, some community members expressed increasing frustration at delays in the
  clean-up process. This frustration led to the formation of the McColl Action Group (MAG).
  This neighborhood committee monitored the government agencies responsible for the site cleanup
  and participated actively in decisions related to the site from 1985 through 1991. EPA and the
  State were often invited to make presentations to the group.


  Another community group formed in 1991, the Fullerton Hills Community Association, supports
  the expedited cleanup plan recommended by the Potentially Responsible Parties.


  The community as a whole has been very active in the decision-making process. During the most
  recent public comment period and public hearing to receive comments on the proposed thermal
  destruction plan (February 1989), community members wrote more than 140 letters, and made
  more than 100 oral comments.


  At that time, the community's major concerns were related to the proposed thermal destruction
  technology, and included the following: potential negative health effects; potential negative effects
  on air quality in the Los Angeles Basin; feasibility and implementability of the technology; length
  of time to complete the cleanup; and impact of the clean-up technology on property values in the
  surrounding area.


  The McColl site has received significant media attention since 1980. Site news has been carried
  by virtually all local newspapers, radio stations, and television stations, as well as receiving more
  occasional mention in regional or national newspapers and broadcasts. Community members are
  occasionally interviewed for news segments on the McColl site.


  Elected officials also have expressed interest in the site, most notably Congressman Dannemeyer.
  All elected officials in the area are on the mailing list for the site, and receive all information
  related to site activities.


  Throughout the remedial process, EPA and the State have continued to conduct a variety of
  community relations activities. Activities have included frequent public meetings, small group
  meetings, regular mailings to community members, a toll-free information line, an on-site open

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    house, and regular contact with the media to provide information. EPA and the State will
    continue to work closely with the community throughout the entire remediation process to keep
   residents informed of progress at the site. EPA and the State will continue to monitor community
   interests and concerns, and will conduct community relations activities as needed to address those
    concerns.


    The following activity list highlights community relations activities that EPA and the State have
    conducted to date at the McColl Superfund Site:


   Fall 1980 - The State organized a public hearing chaired by Peter Weiner, (former) Governor
   Brown's special assistant on Toxic Substances Control.


   February 4, 1982 - The State conducted a community meeting. At the meeting, the State
    announced that a Memorandum of Agreement among state and local agencies had been signed
    and an investigation of the site would take place.


   February 1982 - The State developed a schedule of community relations activities for the McColl
   site. Activities included frequent public meetings, regular mailings to community residents, the
    formation of a community advisory committee and regular provision of information to the media.
   The State distributed a bulletin to community residents announcing a community meeting.


   April 1982 - The State issued a bulletin to the community announcing a drilling operation and
    explaining the safety precautions that would be taken. Emphasis was given to the importance of
   residents' participation in the odor complaint service.


    November 1982 - The State distributed the results of the McColl Health Survey to residents and
    announced a meeting on November 16 to discuss the survey.


    February 24, 1983 - The State conducted a community meeting during the public comment period
    for the Feasibility Study in order to provide information to the community on the three clean-up
    alternatives. The meeting was attended by approximately 200 local residents. The State
    encouraged residents to comment on the information. During the meeting and in later

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  conversations with the State, residents identified excavation and removal as the preferred
   alternative.


  April 1983 - The State conducted another community meeting to present the proposed alternative
  of "excavation and redisposal".


  June 1983 - After a successful test excavation, the State and EPA announced that the excavation
   and redisposal alternative would be selected.


  January 1984 - The State conducted a community meeting to discuss the clean-up schedule,
  funding for the project, and upcoming site preparation activities.


  July - September 1984 - The State sent letters to residents to provide status reports on site
  progress.


  December 1984 - Canonie Engineers (the State's contractor) made a presentation at a community
  meeting that described site activities in preparation for the excavation.


  August 1985 - The State sent a letter to residents explaining a court injunction that halted the
  proposed redisposal of McColl waste at the PWI Landfill in Kern County. The injunction stated
  that no waste could be redisposed from McColl without an Environmental Impact Report (EIR).


  February 1986 - The State sent a letter to community members explaining upcoming site
  maintenance activities conducted by EPA to control waste material seeping upwards on to the
  site.


  Spring 1986 - The State held a series of EIR scoping meetings in different locations around the
  region to receive public comments on the topics to be considered in the EIR.


  March 1986 - The State and EPA met with a small group of residents (who later formed the
  McColl Action Group) to discuss site activities and the tentative project schedule, and to identify
  community concerns.


  May 1986 - McColl Action Group formed.

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   June 1986 - Interagency Committee formed to coordinate the activities of the regulatory agencies
    and communicate with elected officials and city staff.


   August 1986 - The State met with the McColl Community Action Group to continue discussions
   on local community concerns, and to provide an update of the project schedule on the site.


   September 1986 - The State and EPA distributed a fact sheet to community members within a
   one-mile radius of the site that outlined the schedule of activities and explained the planned
   studies.


   November 1986 - The State and EPA distributed a fact sheet to community members describing
   planned groundwater sampling and monitoring activities.


   February 1987 - The State and EPA distributed a fact sheet to community members describing the
   clean-up alternatives that were under evaluation.


   February 24, 1987 - The State and EPA held a community meeting to provide updates on the
   project schedule, EIR progress, upcoming field activities and EPA's Reevaluation of Alternatives.


   March 1987 - The State and EPA distributed a fact sheet to community members describing the
   planned investigation of waste and contaminated soil.


   September 1987 - The State and EPA distributed a fact sheet to community members describing
   the Potentially Responsible Parties' (PRP's) proposal to contain the site prior to the selection of
   a final remedy.


   December 1987 - The State completed a Community Relations Plan (CRP) that described
   planned community relations activities for the duration of the cleanup of McColl.


   December 1987 - The State and EPA distributed a fact sheet to community members describing
   the revised site activity schedule and the response to the PRP's proposal.



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  January 1988 - The State and EPA distributed a fact sheet to community members that contained
  an update of field activities at the site.


  January 12, 1988 - The State and EPA conducted a public meeting to update community members
  on the project schedule and to discuss the PRP's proposal and agencies' response to that
  proposal. A question and answer session was included.


  March 17, 1988 - The State and EPA conducted a community workshop that focused on the
  specific community concerns. Topics included excavation and redisposal as a clean-up alternative
  and the remedy selection process.


  April 1988 - The State and EPA distributed a fact sheet to community members that posed
  commonly asked questions and provided answers to those questions.


  September 1988 - The State and EPA distributed a fact sheet to community members that
  described the clean-up alternatives under evaluation, including thermal destruction.


  December 1988 - The State and EPA distributed a fact sheet to community members that
  announced the public comment period on cleanup alternatives and the plans for a thermal
  destruction demonstration project.


  February 1989 - The State and EPA distributed a fact sheet to community members that provided
  an update of the proposed alternatives and included an announcement of a public comment
  period from 2/89 to 5/89 and a public meeting during that time.


  March 14, 1989 - The State and EPA conducted a community meeting where the newly proposed
  thermal destruction alternative was discussed. Community attendance was so large that a second
  meeting was scheduled.


  April 11, 1989 - The State and EPA held another community meeting to discuss the thermal
  destruction alternative.



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   May 1989 - The State and EPA distributed a fact sheet to community members that described
   the Superfund Innovative Technology Evaluation (SITE) program and included an announcement
   that the test burn of a rotary kiln incinerator had been completed.


   May 1989 - The State and EPA distributed a fact sheet to neighbors announcing that a ground
   water drilling and sampling program would begin in May.


   June 1989 - The State and EPA issued a fact sheet to area residents that responded to key
   concerns and recurring questions raised during the public comment period.


   August 1989 - The State and EPA distributed a fact sheet to the community announcing the
   revised cleanup schedule for McColl.


   November 1989 - The State and EPA distributed a fact sheet to community members that
   announced test results for the treatment of McColl waste.


   March 21, 1990 - The State and EPA hold an informational meeting to discuss Superfund
   activities at the McColl site including Ogden Environmental Services withdrawal from the SITE
   program.


   March 1990 - The State and EPA distributed a fact sheet to community members announcing a
   planned SITE demonstration was canceled.


   March 1990 - The State and EPA issued a fact sheet to area residents announcing the installation
   of three new monitoring wells and groundwater sampling results.


   April 1990 - The State and EPA distributed a fact sheet to community members that announced
   the beginning of a trial waste excavation at the site.


   April 23, 1990 - EPA and the State hold a community meeting to discuss upcoming Superfund
   activities at McColl.



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  May 1990 - The State and EPA sent out an announcement of a community meeting scheduled for
  May 24 to give the PRPs an opportunity to explain their cleanup proposal to the community.
  Also in May, the State and EPA distributed a fact sheet to community members that announced
  that a planned visitor's day at the site in June.


  June 1990 - EPA sent letters to community members explaining the trial excavation and
  addressing possible concerns. The letter was published in English, Korean, Vietnamese, and
  Chinese. On June 9, EPA and the State conducted a press and visitors' day at the site. The trial
  excavation activity was discussed, with demonstrations of the site enclosure, waste type, foam that
  was used to cover the waste after excavation. Residents were shown live and taped video footage
  of the excavation activities inside the enclosure.


  July 1990 - EPA and the State sent out an update to community members that described the plan
  to extend the length of time the excavation would be conducted.


  August 1990 - EPA and the State distributed a fact sheet to community members that announced
  exploratory boreholes were to be drilled at McColl.


  September 1990 - The State and EPA distributed a fact sheet to residents that announced
  successful completion of a trial excavation at McColl and included a chronology of the trial
  excavation.


  October 1990 - The State and EPA distributed a fact sheet to community members that described
  groundwater activities at McColl. The fact sheet confirmed groundwater contamination and
  showed locations of wells in use and wells that EPA planned to seal and abandon.


  October 1990 - The State distributed to the community the results of a 1988 health survey of
  symptoms and odors experienced by residents living near the McColl site.


  November 1990 - EPA, SITE, and the State distributed to residents the results of the trial
  excavation conducted during June and July, 1990.



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   April 1991 - EPA distributed a fact sheet to residents announcing a revised cleanup schedule and
   the delay in signing the ROD. A review period of documents for interested parties was also
   announced.


   April 1991 - EPA and the State distributed an update on McColl field activities to the community.


   May 1991 - A community meeting bulletin was distributed to residents announcing a meeting on
   June 3, 1991 to discuss the delay in the cleanup schedule.


   June 3, 1991 - In the community meeting, residents expressed displeasure at the continued delay
   and a waning confidence in the Agency's ability to effect a timely cleanup.


   July 1991 - EPA distributed a fact sheet to residents announcing that EPA would be collecting
   samples of waste material from the McColl site in mid-July to determine if the waste could be
   solidified and stabilized.


   August 1991 - EPA distributed a fact sheet to residents announcing that it would be conducting
   groundwater sampling at the McColl Site beginning August 20, 1991.


   October 1991 - EPA and the State distributed a fact sheet to residents announcing several field
   activities.


   December 1991 - EPA distributed a fact sheet to residents announcing groundwater sampling and
   the availability of the Administrative Record on microfilm in the Fullerton Public Library
   Reference section.


   April 1992 - EPA distributed a fact sheet outlining the eight alternatives being considered for use
   at McColl. A calendar for decision-making and commencement of site work toward cleanup was
   included.




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  RESULTS OF COMMUNITY INTERVIEWS FOR THE COMMUNITY RELATIONS PLAN
  REVISION


  Thirty-one interviews were conducted between September 16 and September 30, 1991 with
  individuals interested in the McColl Superfund Site. Those interviewed included federal, state,
  and local elected officials, agency representatives, businesspeople, residents, and a representative
  of the Potentially Responsible Parties (PRPs). The results of community interviews are presented
  below.


  Community Opinion


  The greater Fullerton community did not express strong concerns about the McColl site. In
  general, the closer an interviewee lived to the site, the more concern he or she expressed about
  the site and activities there.


  It became clear through the interviews that community opinion has diverged in recent years as a
  result of the community's overall frustration with the Superfund process and delays in the
  cleanup. Whereas an overwhehning number of community members originally backed excavation
  and redisposal, there are now four segments of the community near the site: 1) long-time
  residents who continue to support a total cleanup of the site (including the remnants of the
  McColl Action Group), but who are tired of being involved in McColl activities; 2) long-time
  residents who now favor the PRPs' current proposal for selective excavation of the site and
  subsequent capping of the remaining waste (including members of the Fullerton Hills Community
  Association), and who continue to be active in McColl issues; 3) long-tune residents who would
  like to see the site capped as the alternative that could be completed most quickly; and 4) new
  residents of the community who are not well-informed about the site or who have not expressed
  concerns about the site (primarily ethnic Korean residents).


  Interviewees believe a majority of people favor total cleanup of the site, but some said the
  number of people in favor of the PRPs' current proposal is steadily increasing as time goes on
  and no action is taken at the site.



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    The community near the McColl site has changed significantly since the Superfund process was
    initiated at McColl, and is now estimated by residents and City officials to be between 30% and
    50% ethnic Korean. As a result of this shift, EPA has not been reaching the entire community
    through its more recent community relations efforts. Some interviewed said the lack of
    participation in the McColl cleanup on the part of the Korean segment of the community was
    due, in part, to cultural differences as well as language difficulties.


    Community Evaluation of EPA's Community Relations Program


    It appears from the interviews the community has been pleased with EPA's community relations
    program for the site. With very few exceptions, those interviewed stated they are adequately
    informed about activities at the site through EPA fact sheets and public notices, and have had
    ample opportunities to participate in the Superfund process through public meetings, comment
    periods, and smaller meetings with local community groups.


    At the same time, several people said that the overall community feeling is that residents are tired
    of attending meetings without hearing some "good news" about the future. Several people
    interviewed suggested the community is not interested in being informed about site activities
    (either through mailings or meetings) until EPA can announce it is moving forward with cleanup
    preparations.


    Many of those interviewed expressed concern that PRPs for the McColl Site, under the name of
    the McColl Site Group, are waging a very effective public relations campaign that is
    overshadowing EPA's efforts to educate the community about the site. Many people said PRPs
    have used the community's frustration to their advantage, and have gained an "upper hand" by
    getting the community's backing for their proposal to do a selective excavation of the site. There
    is a sentiment that many community members have been confused between informational fact
    sheets produced by EPA and those produced by the PRPs. Several people noted, however, that it
    is useful to them to get "both sides of the story."




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  Several of those interviewed suggested that EPA could improve its community relations program
  by:


  1)     Making fact sheets and written materials less technical and easier to understand;


  2)     Making a greater distinction between fact sheets EPA publishes and those distributed by
         the PRPs;


  3)     Establishing a greater presence in the Fullerton area by having a part-time community
         relations staffperson in Fullerton;


  4)     Using local media, including community access cable television stations, to inform the
         community of site-related developments more frequently; and


  5)     Reaching out to other, newer members of the neighborhood, especially the Korean
         community, by producing bilingual fact sheets and holding smaller meetings with these
         segments of the community.


  Issues of Importance to the Community


  Although those persons interviewed differed on the details of their comments, there was
  widespread agreement on the issues of importance to the community. Many of these concerns
  were enumerated in the original community relations plan for the site, although their level of
  importance has changed since that time. The major issues for the community include the
  following:


         •     Length of time and schedule for remediation of the site;


         •     Cost and subsequent availability of funding for the cleanup;


         «     Loss of confidence in the agencies administering the project;



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            •   Community health as it relates to the waste at the site and the cleanup alternatives
                being considered;


           •    Potential groundwater contamination and implications for future use of area
                groundwater;


           •    Relationship between the agencies and the potentially responsible parties;


           •    Viability of the current cleanup alternatives; and


           •    Effects of the site and cleanup alternatives on property values and the salability of
                homes.


           •    Site maintenance including mowing, drum storage, and fencing.


    In the following, the above concerns are described in detail.


           Length of time and schedule for remediation of the site. All of those interviewed
           expressed a sense of frustration at the length of time that has elapsed since the beginning
           of EPA's involvement in the project, with no perceived progress in site cleanup.
           Interviewees said repeatedly community members are tired of continuing site investigations
           and do not clearly understand the need for further studies before action is taken. Many
           people said they had lost hope completely since the announcement of the two-and-a-half-
           year delay in the ROD, and now believe the site will never be cleaned up. Many
           interviewed related that, while the majority of the community would still prefer a total
           cleanup of the site, the community is now willing to accept less than a total cleanup in
           favor of having some concrete action taken. Community members appear to perceive the
           start of cleanup could be accelerated if EPA were to accept the PRPs' remediation
           proposal for the site. This perception may be a result of misinterpretation of information
           provided by the PRPs and a lack of understanding of the necessary legal steps during the
           Superfund process.



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         Cost and subsequent availability of funding for the cleanup. A number of those
         interviewed expressed concern for the cost of the cleanup, particularly for the more
         expensive alternatives being considered. Some community members were concerned the
         funding to implement more expensive alternatives would not be available from the federal
         government at the time the cleanup could be started. Lack of funding concerns them
         because of the potential for further delays in the cleanup. Some community members
         expressed the opinion the more expensive alternatives were a waste of taxpayer money,
         and less expensive alternatives were preferable.


         Loss of confidence in the agencies administering the project Interviewees see the
         current situation as a crisis of confidence in the agencies with responsibility for the
         cleanup, particularly EPA This crisis of confidence has been precipitated by the decision
         to postpone the ROD until December 1993. Although the community questions the
         agencies' ability to make a decision about the cleanup and to implement that decision, the
         community remains confident of the agencies' technical abilities.


         People who expressed doubt in the agencies said the only way for EPA to rebuild public
         confidence in its ability to move forward was to initiate action on the site. Community
         members stated they cannot trust EPA's current promises (schedules, etc.) because of the
         many changes and disappointments the community has experienced over the course of the
         Superfund process at McColl. Interviewees frequently referred to Ogden Environmental's
         pullout from the trial burn as a major disappointment for the community.


         Community health as it relates to the site and the cleanup alternatives being considered.
         Many people interviewed expressed a continuing concern for the health effects of the site,
         especially effects on vulnerable segments of the community such as children, the elderly,
         and those with chemical sensitivities. Those interviewed who mentioned health as a
         concern included the potential for increased cancer rates as a major concern. Several of
         those living closest to the site complained odor from the site was markedly worse during
         the summer of 1991 than in the few years previous. Some of the respondents said they
         have experienced headaches, nausea, and respiratory ailments as a result of the substances
         causing the odors.

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         Several community members said that if an alternative were selected that leaves untreated
         waste on the site, they would be concerned about the continuing potential for health
         effects in the future, through exposure to odors (and hence sulfur dioxide gases) and
         contamination of groundwater. Most people interviewed expressed opposition to on-site
         thermal destruction as a treatment alternative because of a concern for negative health
         impacts (coupled with high costs).


         Potential groundwater contamination and the implications for future use of area
         groundwater. Although the majority of those interviewed were aware that no drinking
         water is supplied by the aquifers underneath the McColl site, there is continuing concern
         that McColl waste may be contaminating groundwater. Both residents and elected officials
         expressed a desire to keep the option open for domestic use of all groundwater supplies in
         the future, including groundwater related to the McColl site. The continuing drought in
         California was mentioned as a reason for the importance of groundwater issues to them by
         many of those interviewed.


         Relationship between the agencies and the potentially responsible parties. Several
         interviewed said there is a general sense in the community that it is time for the agencies
         and the PRPs to begin cooperating on technical and legal issues related to the site, rather
         than carrying on an adversarial relationship. These individuals put a portion of the blame
         for project delays on a lack of dialogue between the agencies and the PRPs, so that
         subsequent disagreements stall progress.


         Viability of the current cleanup alternatives. Many interviewed expressed concern about
         the viability of the cleanup options currently being considered by EPA They cited past
         technical changes and subsequent delays as the reason for their concern about the
          alternatives being considered. Some believe the options proposed will not be
         implementable because of community or PRP opposition. Most expressed a desire to find
          an alternative that can effectively address contamination concerns and be implemented
         quickly.




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         Effects of the site and cleanup alternatives on property values and the salability of
         homes. Although most people interviewed concurred that concerns about property values
         have decreased significantly since the initial stages of the McColl site investigation, several
         homeowners expressed concern their properties had not appreciated as rapidly as they
         would have expected. They attributed this, in part, to their proximity to McColl, in
         addition to the depressed nature of the real estate market in general. Several interviewed
         said although the value of homes in the McColl vicinity is comparable to similar homes in
         other areas, it takes more time to sell the homes because of their location near McColl.


         Site maintenance, including mowing, drum storage, and fencing. Interviewees living
         nearest the site and those who pass the site to and from work said site maintenance
         should be performed more regularly. Of particular concern to some is the fire hazard
         presented by the high grass on the site. In addition, residents noted the site was
         aesthetically unpleasant because of drum storage facilities and other equipment in full
         view of the road. Several people proposed a fence be erected to screen the site from the
         view of passersby and residents.


  Questions to be Addressed as Part of the Community Relations Program


  The concerns described above are specific community information needs that will be addressed
  through the community relations program for McColl. Briefly stated, the community's specific
  questions are as follows:


  1)     Why is there a need for another technical delay and further study before remediation can
         begin at the site?


  2)     How is the Supplemental Re-evaluation of Alternatives U different from other evaluations
         already produced?


  3)     When is the earliest possible date actual cleanup work could start? Would accepting the
         PRPs' proposal change this schedule in any way?


  4)     How can EPA guarantee enough funding will be available to complete remediation at
         McColl, and that lack of funding will not further delay the start of the cleanup activities?

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    5)      What are the health risks associated with living near the McColl site?


    6)      What threat does the waste pose to groundwater supplies in the area?


    THE COMMUNITY RELATIONS PROGRAM


    Purpose of the Community Relations Program


    The community relations program is designed to provide continuing opportunities for the
    community to work with the agencies in arriving at a remedy for the McColl site. Community
    acceptance of the remedy is one factor considered when evaluating remedial alternatives. At this
    stage in the remedial process when the alternatives are being re-evaluated, the community
    relations program will focus on 1) answering the community's questions (listed above) about
    McColl and 2) providing information to, and getting feedback from, the community on the
    cleanup alternatives being considered.


    Activities described below were developed as a result of the community interviews conducted by
    EPA and the State in September 1991. Together, they support the agencies' efforts to address
    the community's concerns about McColl in the process of finding an acceptable remedial
    alternative.


    Goals of the Community Relations Program


    Interviews with community members pointed to the need for revisions in the community relations
    program for the site. The community surrounding McColl has changed considerably over the life
    of the Superfund project there. Ethnic Korean residents now make up between 30% and 50% of
    the neighborhoods around the site. It is important to reach these newer residents to allow them
    an opportunity for participation in the cleanup process.


    In addition, there are many long-time residents who have participated in McColl activities for
    more than 10 years and are well-versed in the issues. These individuals have consistently
    expressed frustration and unwillingness to continue being actively involved in the process unless

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  action is being taken. It is important to communicate with this segment of the community about
  progress made at the site.


  The community relations program for the McColl site will 1) keep the public informed of progress
   at the site and 2) continue to involve community members in the Superfund decision-making
  process.


  Community members interviewed expressed general satisfaction with receiving the majority of
  their information through written materials. Interviewees often stated a preference for receiving
  written materials over attending public meetings, unless important new information becomes
  available or key decisions are being made.


  There will be opportunities for both formal and informal comments during this phase of the
  cleanup process. EPA will hold a public meeting to receive comments from the community on
  the proposed remedial action plan, and will respond to those comments in the responsiveness
  summary, a part of the ROD for the site. The ROD will describe the method by which McColl
  will be remediated. It is expected to be completed and signed by December 1993.


   1) To keep the community informed of progress at the site. EPA will continue to keep the
  community informed of technical progress at the McColl site and to answer the community's
  questions through the following activities:


  Updating and revising the site mailing list. Several people interviewed have received duplicate
  copies of mailings or have not received some of the mailings. EPA will review and update the
  mailing list on a continuing basis to avoid duplications and correct any inadvertent omissions.
  Mailing list clip-out coupons will be included in every other mailing, so that anyone who wishes to
  be added to the list or would like to make name and address corrections may do so.


  Producing and distributing fact sheets at key points. Those interviewed expressed a desire to
  continue receiving information from EPA but did not want to be overwhelmed with written
  material. Among long-time residents, the general sentiment was that they know enough of the
  background of the site and wish to receive only fact sheets that announce positive steps toward

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    resolution of the McColl cleanup in the future.


    EPA will produce and distribute a fact sheet explaining the steps to be taken to reach the ROD
    signing by December 1993. In addition, EPA will produce fact sheets as needed to announce key
    technical or legal steps in the Superfund process.


    In order to address the community's concern about confusion between EPA fact sheets and those
    produced by the PRPs, EPA will develop a new, standard masthead to be used on all mailings to
    the community. The masthead will display the U.S. EPA logo, and, as appropriate, the Cal-EPA
    logo to identify it as an official publication.


    Producing and distributing flyers providing notice of routine technical and maintenance work at
    the site. Community members interviewed said that full fact sheets were no longer necessary to
    keep the community informed about the routine activities at the site (e.g., mowing, groundwater
    sampling, and seep removal). Community members suggested that the EPA continue to send out
    one-page flyers or announcements containing this information. EPA will continue to mail these
    flyers, and will provide the name, address, and telephone number of the contact person(s) for
    more information.


    Simplifying and maintaining the information repository for technical documents. Several
    interviewed said the site information repository had become unwieldy because of the large
    number of documents it contains. EPA will review the repository, and will work with the
    librarians at the Fullerton Public Library (where the repository is located) to improve the
    repository's organization. In addition, EPA will provide the repository with a complete, bound set
    of McColl Superfund Site fact sheets that have been produced by EPA and the State. This
    binder will give the public a non-technical overview of the activities at the site to complement the
    technical documents contained in the repository. The Administrative Record also will be
    microfilmed and updated on a regular basis. The microfilm will be available for public purchase.


    2) To continue to involve the community in the decision-making process. EPA will solicit
    comments and questions from the community through the following activities:



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  Reaching out to the Korean community near McColl. Members of the community who were
  interviewed were of the opinion that the Korean community has not become involved in McColl
  because of the language barrier and cultural differences. EPA will reach out to the Korean
  community by providing Korean translations of fact sheets and flyers, as necessary, and arranging
  small group meetings with representatives of the Korean community. An interpreter will be
  provided at these meetings as necessary. EPA will identify and contact key Korean community
  leaders to arrange meetings at which general information about the site will be presented,
  followed by a question and answer session. EPA will continue to meet with the Korean
  community as long as its members express interest in the site.


  Conducting formal public meetings at important milestones. The majority of community
  members interviewed said they were not interested in attending any more large public meetings
  unless important progress toward cleanup could be announced. In keeping with community
  preference, EPA will hold public meetings at important milestones. At least one public meeting
  will be held to receive comments on the proposed remedial action plan after it is released in 1992.
  Additional public meetings may be held at the request of community members or their
  representatives.


  Holding a public comment period. EPA will open a public comment period when the proposed
  remedial action plan is released. Community members will have an opportunity to submit written
  and oral comments to the Agency on the preferred alternative for site remediation, and any other
  alternatives that were considered in the Supplemental Reevaluation of Alternatives U. EPA is
  required to respond to all significant comments as part of the process toward a ROD.


  Continuing to meet regularly with interested community groups. EPA has been meeting with
  interested community groups as requested throughout the McColl project. EPA will offer to
  meet with other organized community groups at their request.


  Continuing to keep officials and agency representatives informed. EPA will continue to work
  closely with elected officials and agency representatives through Interagency Committee meetings.




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    The schedule for community relations activities, as they relate to the technical milestones for the
    site, is provided in the following Figure 3.


    Figure 3.


    Community Relations Activities Schedule for the McColl Superfund Site



     Technical Milestones                          Community Relations Activities

      1.   Supplemental Re-evaluation of                •        Conduct community interviews and revise
           Alternatives H (SROA II)                          Community Relations Plan
                                                        •    Identify and contact leaders of the Korean
                                                             community to offer them presentations
                                                        «    Continually update the mailing list of persons
                                                             interested in the site
                                                        •    Prepare and distribute a fact sheet explaining
                                                             the alternatives being considered in the
                                                             SROAH
                                                        •    Prepare and distribute flyers as needed to
                                                             inform the community of site maintenance
                                                             and sampling activities
                                                        •    Offer presentations and informational
                                                             meetings on site activities to officials and
                                                             community groups
                                                        •    Review and simplify the information
                                                             repository at the Fullerton Public Library




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    Technical Milestones           Community Relations Activities

    2.   Proposed Plan                      Make new technical site documents available
                                            to the public (place copies in the information
                                            repositories)
                                            Publish a public notice of the issuance of the
                                            Proposed Plan and the availability of
                                            documents for review
                                            Produce and distribute a fact sheet describing
                                            the Proposed Plan to the community
                                            Distribute press release on Proposed Plan
                                            Hold a (minimum) 30-day public comment
                                            period on the Proposed Plan
                                            Hold a public hearing to receive comments
                                            on the Proposed Plan during the comment
                                            period
                                            Prepare a transcript of the public hearing
                                            Offer presentations and informal meetings to
                                            interested groups




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     Technical Milestones           Community Relations Activities

     3.   Signing of ROD (ROD)            •    Prepare a Responsiveness Summary
                                          •    Publish public notice in a major local
                                               newspaper announcing the ROD signing and
                                               the final decision on the remedial clean-up
                                               alternative
                                          •    Update information repositories with the
                                               ROD
                                          •    Re-evaluate community interest and revise
                                               Community Relations Plan if needed
                                          •    Make presentations to officials, community
                                               groups
                                          •    Prepare and distribute press releases to local
                                               media



     4.   Remedial Design                      Hold informal meetings with community
                                               members as requested
                                               Produce and distribute an update fact sheet
                                               on site progress

     5.   Remedial Action                      Notify the public if the remedial action in the
                                               ROD changes significantly
                                               Distribute fact sheet that describes upcoming
                                               site activities
                                               Hold informal meetings or information
                                               sessions for community members, as needed




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                              Appendix A

                      List of Key Contacts




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                                             Appendix A

                                        List of Key Contacts

  Elected Officials

  Federal

  Senator Alan Cranston
  5757 W. Century Blvd., # 620
  Los Angeles, CA 90045
  (213) 215-2186
  Contact: Jim Kohlenberger

  Senator John Seymour
  11111 Santa Monica Blvd.
  West Los Angeles, CA 90025
  (213) 575-6765
  Contact: Rich Golb

  Congressman William Dannemeyer
  1235 N. Harbor Blvd., Ste. 100
  Fullerton, CA 92632
  (714) 992-0141
  Contact: Brett Barbre, Special Assistant

  State

  Senator Ed Royce
  305 N. Harbor Blvd., Ste. 300
  Fullerton, CA 92362
  (714) 871-0270
  Contact: Linda LeQuire

  Senator Cecil Green
  State Senate, Rm. 2054.
  State Capital
  Sacramento, CA 95814
  Contact: Melissa Gamer

  Assemblyman Ross Johnson
  1501 N. Harbor Blvd., Ste. 201
  Fullerton, CA 92362
  (714) 738-5853
  Contact: Susie Swatt (916) 445-7448

  Assemblyman Tom Umberg
  State Capital
  P.O. Box 942849
  Sacramento, CA 94249
  Contact: Mark Galli



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   Assemblywoman Doris Allen
   5252 Orange Avenue, #100
   Cypress, CA 90630
   (916) 445-6233
   Contact: Jeff Wright

   Local

   County of Orange

   Hall of Administration
   10 Civic Center Plaza
   Santa Ana, CA 92701
   Contact:     Supervisor Gaddi Vasquez   (714) 834-3330
                Supervisor Don R. Roth     (714) 834-3440

   City of Fullerton

   City Hall
   303 W. Commonwealth Ave.
   Fullerton, CA 92632
   (714) 738-6311

   Mayor:                                  Chris Norby
   Mayor Pro Tern:                         Dawn Bankhead
   Councilmembers:                         Richard Ackerman
                                           Buck Catlin
                                           Molly McClanahan

   City of Buena Park

   Civic Center Offices
   6650 Beach Blvd.
   Buena Park, CA
   (714) 521-9032

   Mayor:                                  Don R. Griffin
   Mayor Pro Tern:                         Rhonda McCune
   CouncUmembers:                          Donna Chessen
                                           Arthur Brown
                                           Donald Bone

   Agency/Non-EIected Representatives

   U.S. Environmental Protection Agency
   Region IX
   75 Hawthorne St.
   San Francisco, CA 94105
   Contacts:
        Pam Wieman
        Remedial Project Manager
        (415) 744-2242



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  U.S. Environmental Protection Agency (cont.)

       Steve Linder
       Remedial Project Manager
       (415) 744-2243

       Fraser Felter
       Community Relations Coordinator
       (415) 744-2181 or (800) 231-3075

  California Environmental Protection Agency
  Department of Toxic Substances Control
  Special Projects
  P.O. Box 806
  Sacramento, CA 95812-0806
  Contacts: William Draper, Public Participation Specialist, (916) 445-9543
             Caroline Rudolph, Project Officer, (916) 324-2857

  Environmental Epidemiology and Toxicology Program
  5900 Hollis Street, Suite E
  Emeryville, CA 94608
  (510) 540-2917
  Contact: Elinor Blake

  South Coast Air Quality Management District
  21865 East Copley Drive
  Diamond Bar, CA 91765
  (818) 572-6200
  Contacts: Ted Kawalczyk
            Dan Russell

  Regional Water Quality Control Board-Santa Ana Region
  2010 Iowa Ave., Suite 100
  Riverside, CA 92507
  (714) 782-4496
  Contact: Ken Williams

  Orange County Department of Environmental Health
  1725 W. 17th St.
  Santa Ana, CA 92706
  (714) 667-3769
  Contact: Bob Allen




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   City of Fullerton
   Development Services
   303 W, Commonwealth Ave.
   Fullerton, CA 92632
   (714) 738-6543
   Contact: Barry Eaton, City Planner
             Ted Commerdinger, Assoc. Planner

   City of Fullerton
   City Manager
   303 W. Commonwealth Ave.
   Fullerton, CA 92632
   (714) 738-6310
   Contact: William Winter, City Manager
             Chris Meyer, Assistant

   City of Fullerton
   Public Library
   353 W. Commonwealth Ave.
   Fullerton, CA 92632
   (714) 738-6333
   Contact: Joanne Hardy, Archivist
             Evelyn Cadman

   City of Buena Park
   Development Services
   6650 Beach Blvd.
   P.O. Box 5009
   Buena Park, CA 90620
   (714) 521-9900
   Contact: Nabil Henein

   City of Buena Park
   City Manager
   6650 Beach Blvd.
   P.O. Box 5009
   Buena Park, CA 90620
   (714) 562-3550
   Contact: Kevin O'Rourke, City Manager

   Chambers of Commerce

   Fullerton Chamber of Commerce
   219 E. Commonwealth Ave.
   Fullerton, CA 92632
   (714) 871-3100
   Contact: Frank Reed, Director


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  Buena Park Chamber of Commerce
  6280 Manchester Blvd., Suite 102
  Buena Park, CA 90621
  (714) 521-0261
  Contact: Fred Sica, Executive Director

  Cultural Organizations

  Fullerton Chinese Cultural Association
  c/o Robert Feng
  2160 Seaview Dr.
  Fullerton, CA 92632
  (714) 870-7896 (H)
  (818) 302-8419 (W)

  Media Representatives

  Fullerton News Tribune
  701 W. Commonwealth Ave.
  Fullerton, CA 92632
  (714) 733-0154
  Contact: John Kane

  The Times Orange County
  1375 Sunflower Ave.
  Costa Mesa, CA 92626
  (714) 966-7700
  Contact: Maria Cone, Environmental Writer
           Claudia Luther, Editorial Writer 966-5992

  Orange County Register
  625 N. Grand Ave.
  Santa Ana, CA 92701
  (714) 664-5017
  Contact: Alina Tugend

  San Pedro News Pilot
  P.O. Box 191
  San Pedro, CA 90733
  (310) 832-0221
  Contact: Teresa Simons

  Daily Star Progress
  600 South Palm
  La Habra, CA 90631
  (714) 529-2144
  Contact: Jackie Brown


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   Environmental and Civic Groups

   Coalition for Clean Air
   122 Lincoln Blvd., #201
   Venice, CA 90291-2826
   (213) 450-3190
   Contact: Ralph Propper/Sabrina Schuller

   Sierra Club - Angeles Chapter
   411 Fiesta Place
   Fullerton, CA 92635
   (714) 525-3605
   Contact: Lydia Goldshmidt

   Citizens for a Better Environment
   501 Second St., Ste. 305
   San Francisco, CA 94107
   (415) 243-8373
   Contact: Mike Belliveau

   League of Women Voters of LA Co.
   10855 Darby Ave.
   Northridge, CA 91326
   (213) 939-3535
   Contact: Betty Trotter

   American Red Cross
   P.O. Box 11364
   Santa Ana, CA 92711
   (714) 835-5381
   Contact: Paula Herrera

   Community Groups

   Fullerton Hills Community Association
   Dave Bushey
   1819 Fairgreen
   Fullerton, CA 92633
   (714) 738-8133

   North Fullerton Homeowners Association
   c/o Barbara and Jerry Younker
   2213 Terraza
   Fullerton, CA 92635
   (714) 441-0605




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                               Appendix B

                 List of Interview Questions




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                                            Appendix B

                                     List of Interview Questions


  1.   What sort of involvement have you had in the McColl site?

  2.   How would you describe the community's general attitude toward the site? Toward the
       regulatory agencies? What level of trust does the community place in EPA's ability to take
       care of the site?

  3.   As of the last Community Relations Plan in 1987, most people in the area opposed leaving
       the waste in place because it didn't provide a permanent solution to the problem at McColl.
       Do you think this opinion has shifted? If so, why?

  4.   What aspects of EPA's community outreach program have been most beneficial to you (or
       the community)?

  5.   What are some of the changes you would like to see in the community relations program?

  6.   Do you feel that you (or the community) have been given an adequate amount of
       information about the McColl site? Where has the best information about the site come
       from, in your opinion?

  7.   How could information dissemination be improved?

  8.   Are there other types of information that would be helpful to you?

  9.   Have you been to any of the public meetings about the site? How many? What was your
       overall impression of the meetings—were they productive?

  10. How could public participation in the clean-up process be improved?

  11. Do you belong to any organized group that deals with McColl issues (e.g., McColl Action
      Group, Green Party, etc.)

  12. Would you be interested in participating in a community work group that would discuss
      McColl issues and keep up to date on technical developments at the site? How much time
      could you devote to meetings of the group?

  13. Are there any other comments or suggestions you would like to make about the site and
      specifically about the community relations program?

  14. Do you have any suggestions about other people we should talk with about the McColl site?




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                              Appendix C

                Information Repository and
                     Meeting Location




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                                          Appendix C

                                     Information Repository


  Fullerton Public Library
  Local History Room
  353 W. Commonwealth Ave.
  Fullerton, CA 92632
  (714) 738-6333
  Contact: Joanne Hardy, Archivist

  Hours: Monday-Wednesday            10:00 a.m. - 8:00 p.m.
         Thursday                    10:00 a.m. - 6:00 p.m.
         Friday-Saturday             10:00 a.m. - 5:00 p.m.
         Sunday                       1:00 p.m. - 5:00 p.m.




                                       Meeting Location


  Parks Junior High School
  Music Room
  1710 Rosecrans Avenue
  Fullerton, CA
  (714) 447-7785
  Contact: Karen Nichols

  Capacity: 350




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                              Appendix D

         List of Acronyms and Abbreviations




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                                            Appendix D


                                List of Acronyms and Abbreviations

  The following acronyms and abbreviations are used in this document:

  Cal EPA California Environmental Protection Agency
  CERCLA Comprehensive Environmental Response, Compensation, and Liability Act (also
          known as Superfund)
  CRP     Community Relations Plan
  DTSC    Department of Toxic Substances Control
  EIR     Environmental Impact Report
  EPA     Environmental Protection Agency
  RI/FS   Remedial Investigation/Feasibility Study
  ROD     Record of Decision
  RWQCB Regional Water Quality Control Board
  SARA    Superfund Amendments and Reauthorization Act
  TAG     Technical Assistance Grant
  VOC     Volatile Organic Compound (e.g., benzene)




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                              Appendix E

                                 Glossary




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                                                Glossary


  Aquifer - An underground formation composed of material such as sand, soil, or gravel that can
  store and supply water to wells and springs. Aquifers can be a source of water for domestic,
  agricultural, and industrial uses. Most aquifers used in the U.S. are within 1000 feet of the earth's
  surface.

  California Environmental Protection Agency (Cal EPA) - The California State agency with
  responsibility for incidents of hazardous waste contamination that affect public health. Cal EPA
  was formerly named the Department of Health Services (DHS).

  Cleanup - Actions taken to deal with a release or threatened release of hazardous substances that
  could affect public health and/or the environment.

  Comment Period - A time period during which the public can review and comment on various
  documents and EPA actions. For example, a comment period is provided when EPA proposes to
  add sites to the National Priorities List.

  Community Relations Plan (CRP) - The CRP outlines specific community relations activities that
  will occur during the remedial response at a site. The CRP also outlines how the public will be
  kept informed of work at the site and the ways in which citizens can review and comment on
  decisions that may affect the final site actions. This document is typically placed in the
  information repository(s) established for the site.

  Comprehensive Environmental Response. Compensation, and Liability Act (CERCLA) - Also
  known as Superfund, this law authorizes the Federal government to respond directly to releases of
  hazardous substances that may endanger public health or the environment. The U.S.
  Environmental Protection Agency (EPA) is responsible for managing Superfund. The major step
  in the Superfund process is the Remedial Investigation/Feasibility Study. CERCLA was amended
  in 1986 with the passage of the Superfund Amendments and Reauthorization Act (SARA).

  Department of Toxic Substances Control (DTSC) - This department originated as the Toxic
  Substances Control Program within the California Department of Health Services (DHS). In
  1991, the Program was given Departmental status and transferred to the newly formed California
  Environmental Protection Agency (Cal-EPA).

  Environmental Impact Report (EIR) - A detailed report on the significant environmental impacts
  from any project that is carried out, approved, or funded by a local or California state public
  agency that may change the physical environment. The EIR process was created by the California
  Environmental Quality Act (CEQA).

  Environmental Protection Agency (EPA) - The U.S. Government agency established in 1970 by
  Presidential Executive Order bringing together various government agencies involved with the
  control of pollution.




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   Feasibility Study (FS) - A study made on the basis of a remedial investigation (RI) to determine
   the feasibility of correcting the release, or threat of release, of hazardous substances, pollutants,
   or contaminants. The study evaluates and develops remedial action alternatives to prevent or
   mitigate the release or migration of hazardous substances or contaminants.

   Groundwater - Underground water that fills pores in soil or openings in rocks to the point of
   saturation. Where groundwater occurs in significant quantity, it can be used as a water supply.

   Hazardous Wastes - Wastes exhibiting any of the following characteristics: ignitability, corrosivity,
   reactivity, or toxicity. The EPA has also listed as hazardous other wastes that do not necessarily
   exhibit these characteristics. Although the legal definition of hazardous waste is complex, the
   term generally refers to any waste that EPA believes could pose a threat to human health and the
   environment if managed improperly. RCRA regulations set strict controls on the management of
   hazardous wastes.

   Information Repository - A file containing current information, technical reports, and reference
   documents regarding a Superfund site. The information repository is usually located in a public
   building that is convenient for local residents such as a library, public school, or city hall. In order
   to provide better public access, there is often more than one information repository for a
   particular Superfund site.

   National Priorities List (NPL) - EPA's list of the top priority hazardous waste sites in the country
   that are subject to the Superfund program.

   Proposed Plan - A public participation requirement of SARA in which EPA summarizes for the
   public the preferred cleanup strategy, the rationale for the preference, and a review of the
   alternatives presented in the detailed analysis of the remedial investigation/feasibility study.

   Record of Decision (ROD) - A document outlining the steps which have been taken to arrive at
   a final clean-up decision for a site on the National Priorities List. The ROD is based on
   information and technical analysis generated during the remedial investigation/feasibility study and
   consideration of public comments and community concerns. All comments received in writing, or
   expressed orally at a public hearing, during the public comment period are responded to in a
   formal manner in a Responsiveness Summary section of the ROD.

   Regional Water Quality Control Board (RWQCB) - A California State agency that exercises
   regulatory authority over water quality standards within its jurisdiction and enforces state water
   quality laws.

   Remedial Investigation (RI) - An investigation conducted to fully assess the nature and extent of
   the release, or threat of release, of hazardous substances, pollutants, or contaminants. This
   investigation gathers the necessary data to support the corresponding feasibility study (FS).

   Responsiveness Summary - A summary of oral and or/written public comments received during
   formal public comment periods on key documents such as the RJ/FS report, and the formal
   responses to these comments. The responsiveness summary is especially valuable during the ROD
   phase of the clean-up process, when it highlights community concerns for decision-makers.


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  South Coast Air Quality Management District (SCAQMD) - The California State agency
  exercising regulatory authority over air emissions in San Joaquin County.

  Superfund - The common name used for the Comprehensive Environmental Response,
  Compensation, and Liability Act of 1980 (CERCLA).

  Superfund Amendments and Reauthorization Act (SARA) - Modifications to CERCLA enacted
  on October 17, 1986. This act amended and reauthorized CERCLA for 5 years at a total funding
  of $8.5 billion. SARA also strengthened State involvement in the clean-up process, encouraged
  the use of treatment technologies and permanent solutions, and subjected federal facilities to the
  same requirements to which other responsible parties must adhere once they are placed on the
  Superfund National Priorities List

  Technical Assistance Grant (TAG) - A grant offered by the EPA to the community in the
  neighborhood of a cleanup site. The community may receive this grant to pay for an independent
  expert on cleanup issues to assist them in making informed comments during the public
  involvement process.




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                                                Exhibit 40
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